             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                        CIVIL NO. 1:07CV127-1-T
                               (1:02CR4)

HARRY MOODY,                  )
                              )
                  Petitioner, )
                              )
           Vs.                )                      ORDER
                              )
UNITED STATES OF AMERICA,     )
                              )
                  Respondent.)


     THIS MATTER is before the Court on Petitioner’s motions for an

extension of time in which to file response to the Government’s motion for

summary judgment, for the production of numerous documents, and for an

evidentiary hearing.

     The Petitioner’s requests for discovery materials and an evidentiary

hearing are denied. However, the Court will afford the Petitioner a modest

extension of time in which to respond to the Government’s motion.

     IT IS, THEREFORE, ORDERED that Petitioner’s motion for an

extension of time in which to file response is ALLOWED, and the time for

filing response to the Government’s motion for summary judgment is

hereby extended another 20 days from entry of this Order.


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     IT IS FURTHER ORDERED that the Petitioner’s motions for

discovery and an evidentiary hearing are hereby DENIED.



                                    Signed: August 24, 2007




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